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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

MANCHESTER UNITED FOOTBALL CLUB
LTD.,

               Plaintiff,
                                                 No. 24 CV 5692
          v.
                                                 Judge Manish S. Shah
THE PARTNERSHIPS AND
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE A,

               Defendants.

                            MEMORANDUM OPINION AND ORDER

      Plaintiff Manchester United Football Club Limited is a soccer club in the

English Premier League that owns various trademarks related to the club. It filed

this action under the Lanham Act, 15 U.S.C. § 1051, et seq., against the defendants

listed in Schedule A of the complaint. Manchester United alleged that these

defendants, including defendants Guangzhou DOY Label Co., Shandong Longxiang

Textile Co., and Zhuji Dule Textile Co. Ltd., infringed Manchester United’s

trademarks by selling counterfeit products or using trademarks in connection with

the sale of goods to Illinois residents. Defendants Guangzhou DOY Label Co.,

Shandong Longxiang Textile Co., and Zhuji Dule Textile Co. move to dismiss the

complaint for lack of jurisdiction. For the reasons discussed below, the motion is

denied.
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I.       Legal Standard

         When a defendant challenges jurisdiction under Federal Rule of Civil

Procedure 12(b)(2), “the plaintiff bears the burden of demonstrating the existence of

jurisdiction.” Curry v. Revolution Lab’ys, LLC, 949 F.3d 385, 392 (7th Cir. 2020)

(citation omitted). Where the decision on jurisdiction is based solely on written

materials without an evidentiary hearing, the plaintiff need only make a prima facie

showing of personal jurisdiction over the defendants. Matlin v. Spin Master Corp.,

921 F.3d 701, 705 (7th Cir. 2019). If the defendants submit evidence opposing the

exercise of jurisdiction, the plaintiffs must also submit affirmative evidence in

support of jurisdiction. Id. I take as true “all well-pleaded facts alleged in the

complaint and resolve any factual disputes in the affidavits in favor of the plaintiff.”

Id. (quoting Tamburo v. Dworkin, 601 F.3d 693, 700 (7th Cir. 2010)).

II.      Background

         Manchester United Football Club Limited is a professional soccer club in the

English Premier League. [1] ¶¶ 3, 5. 1 The club produces, manufactures, and

distributes athletic apparel, accessories, and other products. [1] ¶ 6. It owns several

federally registered trademarks, including Reg. No. 2,556,390; Reg. No. 2,864,029;

Reg. No. 3,214,435; Reg. No. 4,843,291; Reg No. 5,887,591; and Reg. No. 5,899,493.



1 Bracketed numbers refer to entries on the district court docket. Referenced page numbers

are taken from the CM/ECF header placed at the top of filings. The facts are taken from the
complaint, [1]; the evidence submitted by the defendants in opposition to the exercise of
jurisdiction, [78-1], [78-2], [78-3], [80-1], [80-2], [80-3], [82-1], [82-2], [82-3], [82-4], [82-5]; and
the evidence submitted by plaintiff in response and in support of the exercise of jurisdiction,
[92], [92-1], [92-2], [92-3], [92-4], [92-5], [92-6], [93], [93-1], [93-2], [93-3], [93-4], [93-5], [93-
6], [93-7], [93-8], [93-9], [93-10], and [93-11].

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[1] ¶ 9. The club incorporates these trademarks in the design of the items it produces.

[1] ¶ 9.

        Defendants are businesses operating in China. [1] ¶ 16; [78-1] ¶¶ 6–9, 16; [80-

1] ¶¶ 6–9, 16; [82-1] ¶¶ 6–9, 16. They all sell products via online storefronts at

Alibaba.com. [78-1] ¶¶ 17–18; [80-1] ¶¶ 17–18; [82-1] ¶¶ 17–18.

        Defendant Guangzhou has offered for sale custom products including garment

accessories, gifts and crafts and bar accessories, packaging and printing products,

and printing consumables to primarily business purchasers, using Manchester

United registered trademark no. 2,864,029; no. 3,214,435; no. 2,556,390; and no.

5,887,591 on its product listing. [82-1] at 17–18; [93] ¶ 3. Plaintiff’s investigator

placed an order on April 10, 2024, for a product to be shipped to Illinois. [93] ¶ 6.

Plaintiff’s investigator received the product. [93] ¶ 6; [93-1] at 6; [93-2]. The product

received was not itself infringing. [93-2]. Manchester United has presented evidence

that Guangzhou has made sales of at least 108 products to Illinois residents. [93]

¶ 11.

        Defendant Shandong Longxiang has offered for sale custom towels to primarily

business purchasers, using Manchester United registered trademark no. 2,864,029;

no. 3,214,435; no. 5,887,591; and no. 5,899,493 on its product listing. [80-1] ¶ 17–18;

[93] ¶ 4. Plaintiff’s investigator placed an order on April 13, 2024, for a product to be

shipped to Illinois. [93] ¶ 7. Plaintiff’s investigator received the product. [93] ¶ 7; [93-

4]. The product received was not itself infringing. [93-4]. Manchester United has




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presented evidence that Shandong Longxiang has made sales of at least 10 products

to Illinois residents. [93] ¶ 11.

       Defendant Zhuji Dule has offered for sale custom socks to primarily business

purchasers, using Manchester United registered trademark no. 2.864,029; no.

4,843,297; no. 5,887,591; no. 2,556,390; and no. 5,899,493 on its product listing. [78-

1] ¶¶ 17–18; [93] ¶ 5. Plaintiff’s investigator placed an order on April 7, 2024, for a

product to be shipped to Illinois. [78-2] at 15; [93] ¶ 8. The investigator paid for the

product and received a confirmation email. [93] ¶ 8. On April 17, 2024, Zhuji Dule

emailed the investigator to initiate a refund request. [93] ¶ 8; [93-5] at 4. Manchester

United also presents evidence that Zhuji Dule had completed at least one sale to an

Illinois resident. [93] ¶ 11.

       According to Manchester United, a search on Baidu.com (a Chinese search

engine equivalent to Google), provides dozens of websites that explain tactics to

identify test orders by a rights owner, including known addresses of test orders. [93]

¶ 9. This includes the address of the investigator’s firm. [93] ¶ 9.

       Manchester United has also provided declarations and supporting materials

that show that when opening an online storefront on Alibaba, a seller must

affirmatively choose where it will sell and ship products. [92] ¶¶ 3, 5–6, 10. This can

include North America, and specifically the United States. [92] ¶ 5, 10. A seller can

also choose what currency it accepts, including USD. [92] ¶ 6.

III.   Analysis

       Defendants argue that the court lacks personal jurisdiction over them. In a

federal question case, “a federal court has personal jurisdiction over the defendant if
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either federal law or the law of the state in which the court sits authorizes service of

process to that defendant.” Curry, 949 F.3d at 393 (quoting Mobile Anesthesiologists

Chi., LLC v. Anesthesia Assocs. of Hous. Metroplex, 623 F.3d 440, 443 (7th Cir. 2010)).

Because the Lanham Act does not grant personal jurisdiction, I look to Illinois law to

determine whether I can exercise personal jurisdiction over the defendants. NBA

Props., Inc. v. HANWJH, 46 F.4th 614, 620 (7th Cir. 2022).

      The Illinois long-arm statute confers personal jurisdiction if “permitted by the

Illinois Constitution and the Constitution of the United States.” 735 ILCS 5/2-209(c).

The Illinois long-arm statute is “coextensive with the Federal Constitution’s Due

Process Clause.” J.S.T. Corp. v. Foxconn Interconnect Tech. Ltd., 965 F.3d 571, 575

(7th Cir. 2020); see also Mobile Anesthesiologists Chi., 623 F.3d at 443 (noting that

“there is no operative difference” between the Illinois and United States Constitutions

for purposes of limiting personal jurisdiction). The question is whether exercising

personal jurisdiction on defendants “comports with the limits imposed by federal due

process.” Walden v. Fiore, 571 U.S. 277, 283 (2014).

      Federal due process requires that the defendant have minimum contacts with

the forum state “such that the maintenance of the suit does not offend ‘traditional

notions of fair play and substantial justice.’” Int’l Shoe Co. v. Washington, 326 U.S.

310, 316 (1945) (citations omitted). These “minimum contacts” fall into two

categories: “specific” and “general” jurisdiction. J.S.T. Corp., 965 F.3d at 575. General

jurisdiction requires the “defendant’s connection to the forum” state be “so continuous

and systematic as to render [it] essentially at home.” Id. (quoting Goodyear Dunlop



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Tires Operations, S.A. v. Brown, 564 U.S. 915, 919 (2011)). Specific jurisdiction is

“confined to adjudication of issues deriving from, or connected with, the very

controversy that establishes jurisdiction.” Id. (quoting Goodyear, 564 U.S. at 919).

Manchester United asserts only specific jurisdiction.

      Specific jurisdiction “focuses on the sufficiency of the defendant’s contacts with

the forum that ‘also give rise to the liabilities sued on.’” Curry, 949 F.3d at 395

(quoting Int’l Shoe, 326 U.S. at 317). Specific jurisdiction analyzes the connection

between the defendant, the forum, and the underlying controversy. Id. The

defendant’s “suit-related conduct must create a substantial connection with the

forum State.” Walden, 571 U.S. at 284. It is a “defendant-focused” inquiry. See

id. Jurisdiction is proper when the defendant “take[s] ‘some act by which [it]

purposefully avails itself of the privilege of conducting activities within the forum

State.’” Ford Motor Co. v. Mont. Eighth Jud. Dist. Ct., 592 U.S. 351, 359 (2021)

(quoting Hanson v. Denckla, 357 U.S. 235, 253 (1958)); see also Burger King Corp. v.

Rudzewicz, 471 U.S. 462, 475 (1985). The “minimum contacts” analysis requires

courts to look at “the defendant’s contacts with the forum State itself, not the

defendant’s contacts with persons who reside there.” Curry, 949 F.3d at 397 (quoting

Walden, 571 U.S. at 285). “[I]t is the defendant’s conduct that must form the

necessary connection with the forum State that is the basis for its jurisdiction over

him.” Walden, 571 U.S. at 285. In other words, there must be “an affiliation between

the forum and the underlying controversy, principally, [an] activity or an occurrence

that takes place in the forum State and is therefore subject to the State’s regulation.”



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Bristol-Myers Squibb Co. v. Superior Ct. of Cal., San Francisco Cnty., 582 U.S. 255,

262 (2017) (quoting Goodyear, 564 U.S. at 919).

       These principles are equally applicable to online sellers. NBA Props., 46 F.4th

at 622. Selling items over the internet into the forum state is enough to confer

personal jurisdiction. Id.; uBid, Inc. v. GoDaddy Grp., Inc., 623 F.3d 421, 424, 427–

28 (7th Cir. 2022); Illinois v. Hemi Grp. LLC, 622 F.3d 754, 757–60 (7th Cir. 2010);

Curry, 949 F.3d at 399–400. “If the defendant exploits the forum market, it is subject

to the jurisdiction of the forum.” NBA Prop., 46 F.4th at 623. However, courts “should

be careful in resolving questions about personal jurisdiction involving online contacts

to ensure that a defendant is not haled into court simply because the defendant owns

or operates a website that is accessible in the forum state.” Hemi Grp., 622 F.3d at

760.

       There are three elements that must be met for the court to exercise specific

jurisdiction: “(1) the defendant must have purposefully availed himself of the

privilege of conducting business in the forum state or purposefully directed his

activities at the state, (2) the alleged injury must have arisen from the defendant's

forum-related activities, and (3) the exercise of jurisdiction must comport with

traditional notions of fair play and substantial justice.” Felland v. Clifton, 682 F.3d

665, 673 (7th Cir. 2012) (citations omitted).

       Defendants argue that none of these elements are met.

       A.    Purposeful Direction

       None of the defendants have a physical presence in Illinois, though this is not

a bar to finding sufficient minimum contacts for jurisdiction. NBA Prop., 46 F.4th at
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624. Creating a website, providing that Illinois residents could purchase products

through the website, selling products through third-party websites, sending written

confirmation of the sales and including Illinois shipping addresses, and shipping the

product to Illinois residents are circumstances sufficient to find a business purposely

avails itself of the privilege of conducting business in Illinois. Id.; Curry, 949 F.3d at

399.

       Here, all three defendants have created an online storefront using the third-

party retailer Alibaba.com. Through the storefronts, they have asserted a willingness

to ship goods to Illinois by affirmatively choosing to ship products to North America

and accepting USD as a currency. [92] ¶¶ 3, 5–6, 10. When plaintiff’s investigator, an

Illinois resident, placed orders, the defendants acknowledged the order with an email

confirmation that stated the order and payment had been received. [93-1] at 2; [93-3]

at 2–3; [93-5] at 2. Defendants Guangzhou and Shandong Longxiang shipped the

products, which were received by plaintiff’s investigator. [93-1] at 6; [93-2]; [93-4].

After the plaintiff’s investigator had already paid for the order from Zhuji Dule, Zhuji

Dule canceled the ordered and initiated a refund request. [93-5] at 4.

       Defendants Shandong Longxiang and Guangzhou argue that a single sale does

not confer jurisdiction on this court. [80] at 6–7; [82] at 6–7. However, a single sale

can be enough to establish personal jurisdiction. NBA Props., 46 F.4th at 624. Here,

Shandong Longxiang and Guangzhou placed items for sale on a third-party site, took

orders from an Illinois resident, confirmed the orders, and shipped the products.

Manchester United has also put forth evidence that Shandong Longxiang and



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Guangzhou sent multiple products—at least 10 and 108, respectively—to Illinois

residents. [93] ¶ 11. This is sufficient to show these defendants purposefully availed

themselves of conducting business in Illinois. Id.

       Defendant Zhuji Dule argues that it made no sales and shipped no infringing

items to Illinois, and therefore the court cannot exercise jurisdiction. [78] at 4–5. It

cites three cases in support. In Shenzhen Dejiayun Network Technology Co., Ltd. v.

The P’ships and Unincorporated Ass’ns Identified on Schedule A, No. 21-cv-6607,

[143] at 2–3 (N.D. Ill. Feb. 15, 2024), the court found no personal jurisdiction where

the defendants submitted a declaration saying that the defendants did not make sales

of any infringing products to Illinois, and the plaintiff’s only evidence otherwise was

inputting the court’s address on the defendant’s website to demonstrate the

defendants stood “ready and willing to ship counterfeit goods” to Illinois. In Emoji Co.

GmbH v. The Individuals, Corps., Ltd. Liab. Cos., P’ships, and Unincorporated Ass’ns

Identified on Schedule A, No. 23-cv-1112, [54] at 1 (N.D. Ill. Sept. 16, 2023), the court

found no personal jurisdiction where the defendants did not ship any infringing

products and plaintiff did not respond to the motion to dismiss at all. Finally, in KTM

AG v. The Individuals, Corps., Ltd. Liab. Cos., P’ships, and Unincorporated Ass’ns

Identified on Schedule A, No. 20-cv-06743, [177] at 1 (N.D. Ill. Apr. 13, 2022), the

court granted the defendant’s motion to dismiss for lack of jurisdiction where the

plaintiff provided no evidence that the defendants had made “even one sale into the

State of Illinois.”




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      Zhuji Dule’s own evidence shows that an order was made, Zhuji Dule

attempted to communicate with an Illinois resident about the order, and then later

Zhuji Dule canceled the order. [78-1] ¶ 21, [78-1] at 6. Manchester United has also

provided evidence, unlike the plaintiffs in the cited cases, that show that Zhuji Dule

accepted the investigator’s order, received payment, and then later issued a refund

request. [93] ¶ 8; [15-1] at 117–21; [93-5] at 2–4. Plaintiff has also put forth evidence

that Zhuji Dule completed a sale to an Illinois resident. [93] ¶ 11. Through these

actions, Zhuji Dule has “asserted a willingness to ship goods to Illinois and

established the capacity to do so.” NBA Prop., 46 F.4th at 624.

      Because the defendants all offered products for sale to, and accepted and

confirmed sales for Illinois residents—whether shipped and received or later

canceled—Manchester United has made out a prima facie case that each defendant

purposefully availed itself of doing business in Illinois.

      B.     Relatedness

      The defendants also argue that because the products sent to plaintiff’s

investigator did not bear any infringing marks, there is no harm to Manchester

United due to any activities in Illinois. [80] at 7–8; [82] at 8–9.

      However, the Lanham Act bars the “use in commerce any reproduction,

counterfeit, copy, or colorable imitation of a registered mark in connection with the

sale, offering for sale, distribution, or advertising of any goods or services on or in

connection with which such use is likely to cause confusion, or to cause mistake, or to

deceive.” 15 U.S.C. § 1114(1)(a) (emphasis added). It further bars a person from

“reproduc[ing], counterfeit[ing], copy[ing], or colorably imitat[ing] a registered mark”
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and apply the same to “labels, signs, prints, packages, wrappers, receptacles or

advertisements intended to be used in commerce upon or in connection with the sale,

offering for sale, distribution, or advertising of goods or services.” 15 U.S.C.

§ 1114(1)(b) (emphasis added). An offer to sell an infringing or counterfeit item is

itself a violation of the act. Monster Energy Co. v. Wensheng, 136 F.Supp.3d 897, 904

(N.D. Ill. 2015); Levi Strauss & Co. v. Shilon, 121 F.3d 1309, 1312 (9th Cir. 1997).

Moreover, the requirement of relatedness is “met when direct sales from the

defendant in the forum state involve the infringing product.” NBA Props., 46 F.4th at

625.

       Manchester United alleges that each defendant used various registered

trademarks in connection with the sale of its products and puts forth evidence

showing how the trademarked images were used in the product listing of each

defendant. Zhuji Dule’s own evidence admits that it “displayed a small product image

of socks with the asserted Manchester United trademarks,” though says this was

accidental. [78-1] ¶ 21. Similarly, Guangzhou’s evidence states that it displays the

asserted trademarks but argues it “merely illustrates our custom services.” [82-1]

¶ 23. The use of Manchester United’s trademarks on the product listing of each

product is “in connection with” the sale of those products. These listings were made

available to Illinois residents, and each defendant accepted orders and payment from

an Illinois resident. Manchester United has made a prima facie case that the harm

to Manchester United arises from the defendants’ activities—the sale and offer for




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sale to Illinois residents—of products that attract customers by using Manchester

United trademarks on the web listing.

      C.     Traditional Notions of Fair Play and Substantial Justice

      The defendants also argue that Manchester United cannot show that

subjecting these defendants to this court’s jurisdiction fosters fair play and

substantial justice. The factors relevant to this question are: “‘the burden on the

defendant, the forum State’s interest in adjudicating the dispute, the plaintiff’s

interest in obtaining convenient and effective relief, the interstate judicial system’s

interest in obtaining the most efficient resolution of controversies, and the shared

interest of the several States in furthering fundamental substantive social

policies.’” Felland, 682 F.3d at 677 (quoting Burger King Corp., 471 U.S. at 477). The

defendants argue that the plaintiffs have “lured” the businesses into Illinois to

establish personal jurisdiction over them. They cite Matlin v. Spin Master Corp., 921

F.3d 701 (7th Cir. 2019) in support of this argument.

      In Matlin, the defendants moved to dismiss for lack of jurisdiction where a

Virginia defendant refused to pay royalties on nationwide sales of products that the

plaintiffs had designed. Id. at 703–04. This included at least one sale of a product in

Illinois. Id. at 704. The Seventh Circuit noted, however, that the injury was not about

the sales of the products themselves, but about royalty claims “from a non-party’s

contractual obligation and the defendants’ alleged complicity in supposed fraud

committed by that non-party.” Id. at 707. The underlying contracts included forum

selection and choice of law clauses that did not select or choose Illinois. Id. And

importantly, the defendant’s contacts with Illinois came after the suit was filed; in
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fact, the contacts came after the defendant’s motion to dismiss for lack of jurisdiction.

Id. The Seventh Circuit made clear that it could “not allow plaintiffs to base

jurisdiction on a contact that did not exist at the time they filed suit.” Id.

         Here, unlike Matlin, the suit is based on the conduct that provides

jurisdiction—the offer and sale of allegedly infringing products by defendants. There

is “no unfairness in making a seller defend a suit in a state where it structures its

business to ‘easily serve the state’s consumers.’” NBA Props., 46 F.4th at 627 (quoting

Curry, 949 F.3d at 402). The defendants offered to sell, made sales to, and accepted

payment from an Illinois resident. They have set up their businesses to allow

shipments to Illinois and accept USD. It does not offend traditional notions of fair

play and substantial justice for the defendants to be haled into court in this forum.

         Defendants also cite Walden, 571 U.S. at 284–85, to claim that plaintiff’s

lawyer is the “only link” to the jurisdiction, and that link cannot be the basis for

jurisdiction. But the link is not the plaintiff; it is the use of Manchester United’s

trademarks in connection with the sale of a product to plaintiff’s investigator in

Illinois that creates the link. The use of the trademarks by the defendants to sell

products to Illinois residents is evidence of defendants’ own connection to the forum

state.

         Finally, Defendants argue that subjecting a Chinese defendant to an Illinois

court’s jurisdiction is not fair, because there is a heavy burden on the defendants to

litigate in Illinois; that Illinois does not have a strong interest in adjudicating this

dispute because the companies have no physical presence in the state; and that



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litigating would not be efficient. There is no doubt a burden on the defendants in

litigating here. But the defendants’ own activities have opened them up to litigation

in this district. See uBid, Inc., 623 F.3d at 433 (“There is no unfairness in requiring

GoDaddy to defend that lawsuit in the courts of the state where, through the very

activity giving rise to the suit, it continues to gain so much.”); Hemi, 622 F.3d at 760

(“Hemi wants to have its cake and eat it, too: It wants the benefit of a nationwide

business model with none of the exposure.”). It is not unfair to litigate this dispute in

this forum, where defendants have purposely availed themselves of conducting

business in Illinois and are alleged to have used that business to violate the Lanham

Act by using trademarks to sell products to Illinois residents.

IV.   Conclusion

      Defendants’ motions to dismiss for lack of jurisdiction, [78], [80], [82], are

denied. Because there was no need to conduct jurisdictional discovery to find

jurisdiction proper, Manchester United’s motion for jurisdictional discovery, [86], is

denied as moot.



ENTER:

                                                ___________________________
                                                Manish S. Shah
                                                United States District Judge
Date: December 23, 2024




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